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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION


 PETER PISEK,                                  )
           Plaintiff,                          )
                                               )
        vs.                                    )       1:06-cv-372-RLY-TAB
                                               )
 KINDRED HEALTHCARE, INC.                      )
 DISABILITY INSURANCE PLAN,                    )
 METROPOLITAN LIFE INSURANCE                   )
 COMPANY, and KINDRED                          )
 HEALTHCARE, INC.,                             )
           Defendants.                         )


      ENTRY ON PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT AND
           DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

 I.     Introduction

        This matter is before the court on cross motions for summary judgment filed by

 Plaintiff, Peter Pisek (“Plaintiff”), and Defendants, Kindred Healthcare, Inc. Disability

 Insurance Plan (“Plan”), Metropolitan Life Insurance Company (“MetLife”), and Kindred

 Healthcare, Inc. (“Kindred”) (collectively “Defendants”). Plaintiff filed the present

 lawsuit against Defendants for alleged violations of the Employee Retirement Income

 Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001, et seq. The issues before the court on

 summary judgment are: (1) whether Plaintiff is entitled to penalties under 29 U.S.C. §

 1132(c) for Defendants’ failure to provide Plaintiff requested information under 29

 U.S.C. § 1024 and § 1133; (2) whether Plaintiff’s monthly benefits are to include a cost-


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 of-living increase under the Plan; and (3) whether Plaintiff is entitled to attorney’s fees

 under 29 U.S.C. § 1132(g). For the reasons set forth below, the court GRANTS in part

 and DENIES in part Plaintiff’s motion for summary judgment and GRANTS in part and

 DENIES in part Defendants’ motion for summary judgment.

 II.    Statement of Facts

        Background

 1.     Kindred maintains and sponsors an “employee welfare benefit plan,” as defined in

        29 U.S.C. § 1002(1), for its employees. (Answer ¶ 9, Docket # 22). The Plan is an

        ERISA-governed long-term disability plan. (Administrative Record (“AR”) at 87,

        89, Docket # 24).

 2.     Kindred is the “plan sponsor” and “plan administrator” pursuant to 29 U.S.C. §

        1002(16)(A), (B). (Answer ¶¶ 3, 4). The Summary Plan Description (“SPD”)

        designates Kindred as the plan sponsor and administrator. (AR at 87).

 3.     Kindred designated its discretionary authority to determine claims eligibility to

        MetLife. (Answer ¶ 5).

 4.     Plaintiff is a “participant”, as defined in 29 U.S.C. § 1002(7), in the Plan. (Answer

        ¶ 11).

 5.     As a non-exempt employee of Kindred, Plaintiff purchased a higher amount of

        optional long-term disability coverage (“LTD Buy-Up coverage”) under the Plan.

        (Affidavit of Peter Pisek (“Pisek Aff.”) at ¶ 1, Docket # 27). He began

        contributing toward the premium amount for the LTD Buy-Up coverage in January

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        2003 and paid the premiums until July 2004, when they were waived under the

        Plan. (Pisek Aff. at ¶ 1).

 6.     Plaintiff began receiving long-term disability benefits on July 1, 2004, due to

        displacement, lumbar intervertebral. (Answer ¶ 15).

 7.     Since that time, Defendants have paid Plaintiff disability benefits every month,

        although Plaintiff did not receive his monthly check for July 2006 until August 1,

        2006. (Supplemental Affidavit of Peter Pisek (“Pisek Supp. Aff.”) at ¶ 16, Exhibit

        to Plaintiff’s Reply in Support of Motion for Summary Judgment).

        Plan Details and Definitions

 8.     Under the Plan, the maximum period of disability that the Plan will consider for

        disabilities due to soft tissue disorders is 24 months from the date the disability

        starts. (Plaintiff’s Documents (“PD”) at 1, Docket # 27).1 However, the 24-month

        limit does not apply to soft tissue disorders where there is objective evidence of

        radiculopathies. (PD at 1).

 9.     Under the caption “Your Long-Term Disability (LTD) Benefits, What is my LTD

        coverage amount?”, the SPD sets forth the monthly benefit calculation: “LTD

        Buy-Up coverage pays an additional 20%, for a total of 60% of the first $16,667 in

        monthly pre-disability earnings, reduced by any other income benefits you may

        receive due to your disability. The maximum monthly benefit is $10,000 (before

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          The page numbers of Plaintiff’s Documents that the court cites correspond to the bate-
 stamped page numbers on the bottom of those documents. Plaintiff’s Affidavit, which was filed
 with Plaintiff’s Documents, is cited by the relevant paragraph number.

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       any reductions for other income benefits).” (AR at 73).

 10.   Under the same sub-heading, the term “pre-disability earnings” is defined in the

       SPD as:

              Pre-disability earnings means your base monthly salary or
              wages as of the last day before you became disabled. Pre-
              disability earnings include any amounts that were deducted
              from your pay on a pre-tax basis for the 401(k) savings plan,
              flexible spending accounts, executive deferred compensation
              arrangements or similar benefits.

              Pre-disability earnings do not include commissions, bonuses,
              shift differentials, overtime pay, company contributions on
              your behalf to any savings or retirement plan, or any other
              compensation. (AR at 73).

 11.   Under the same heading in the SPD, “Your Long-Term Disability (LTD)

       Benefits,” but under the subheading, “When do LTD benefits start?”, the term

       “indexed pre-disability earnings” is explained:

              Indexed pre-disability earnings is a measure that takes into
              account inflation and normal growth in salary that would be
              expected to occur from year to year. The pre-disability
              earnings used in calculating your benefit payments will be
              increased by the annual consumer price index or 7%
              (whichever is less), starting on the 13th monthly LTD
              payment and on the anniversary of that payment for each year
              afterward if you continue to be disabled. (AR at 74).

 12.   Next to that definition, in the left margin of the page of the SPD, the following is

       written in bold writing: “If you receive disability payments for more than a year,

       the pre-disability earnings figure used to calculate your benefits will be increased

       to account for inflation and typical pay increases.” (AR at 74).


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 13.   In the SPD, the term “indexed pre-disability earnings” is used directly above this

       definition in the Plan’s definition of disability, which is defined as being unable to

       earn a percentage of one’s indexed pre-disability earnings working either at one’s

       own or any occupation. (AR at 74).

 14.   “Indexed pre-disability earnings” is also used in the SPD to describe the work

       incentive benefit under the sub-heading, “What is the work incentive benefit?”

       (AR at 76). Specifically, the text reads:

              However, following your elimination period, then during the
              next 24 months of your disability, your monthly LTD benefit
              will be reduced so that the total amount you receive from this
              plan, other income benefits and your work earnings will not
              exceed your pre-disability earnings or indexed pre-disability
              earnings.

              During the next 24 months of your disability, your monthly
              benefit will be reduced by 50 percent of the amount you earn
              from working while disabled. In addition, your monthly LTD
              benefit will be further reduced so that the total amount you
              receive from this plan, other income benefits and your work
              earnings will not exceed your indexed pre-disability earnings.
              (AR at 76) (emphasis added).

 15.   The Plan, as opposed to the SPD, uses the term “indexed pre-disability earnings”

       in the same contexts. (AR at 25, 27). However, the definition of “indexed pre-

       disability earnings” is worded differently. The Plan states:

              Indexed Predisability Earnings mean your Predisability
              Earnings Increased by the lesser of:

              1.     the annual rate of increase in the Consumer Price Index
                     (CPI-W) for the prior calendar year; or


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              2.     7%.

              The first increase will take place on the date the 13th Monthly
              Benefit is payable. Subsequent increases will take effect on
              each anniversary of the first increase. You must have been
              continually receiving Monthly Benefits under This Plan. (AR
              at 29).

 16.   The Plan is a Kentucky contract and designates that its terms should be interpreted

       under the laws of that jurisdiction. (PD at 66).

 17.   The SPD states that the claims administrator will respond to the appeal of a denied

       claim within 45 days, or if needed, the claims administrator may take an additional

       45 days. (AR at 86). However, if additional time is needed, the claimant will be

       notified within the initial 45-day time period. (AR at 86).

 18.   The Plan and the SPD specify that the Plan administrators and Plan fiduciaries

       have discretionary authority to interpret the Plan and determine entitlement to the

       Plan’s benefits. (AR at 60, 87). Such interpretations will remain in effect absent a

       showing that the determination was arbitrary and capricious. (AR at 60, 87).

       Correspondence between Plaintiff and MetLife and Kindred

 19.   On May 16, 2005, MetLife sent Plaintiff a letter stating that he would only receive

       disability benefits until June 30, 2006, because his disability, displacement, lumbar

       intervertebral, did not qualify for an exception to the 24-month benefit period.

       (PD at 2).

 20.   In response, Plaintiff wrote a letter to MetLife dated July 19, 2005, stating that his

       doctors’ notes indicated that radiculopathy was part of his diagnosis and asking

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       MetLife to make a correction in its records. (PD at 3).

 21.   Also in July 2005, Plaintiff received his thirteenth monthly LTD check, but there

       was no upward adjustment to reflect a cost-of-living increase. (Pisek Aff. at ¶ 4).

       Pisek sent MetLife a letter dated August 4, 2005, asking it to adjust his monthly

       benefit accordingly. (PD at 4).

 22.   By September 2005, Plaintiff had not received a response from MetLife regarding

       his disability determination or the cost-of-living increase. (Pisek Aff. at ¶ 5). On

       September 1, 2005, Plaintiff sent MetLife a letter asking it to respond with its

       position on both the 24-month limit to Plaintiff’s disability benefits and the

       increase in his monthly benefits for cost of living. (PD at 5).

 23.   MetLife responded to Plaintiff’s requests by letter dated September 13, 2005. (PD

       at 6). The letter reiterated the types of disabilities under the Plan that are not

       limited to 24 monthly benefit payments, including radiculopathies. (PD at 6).

       However, with respect to Plaintiff’s disability, the letter concluded: “At this time,

       your diagnosis of Displacement, Lumber Intervertebral would fall under the

       limited benefit provision.” (PD at 6). With respect to the cost-of-living increase,

       the letter stated: “As stated in your plan booklet this is considered as ‘Indexed pre-

       disability earnings [sic]’ This increase would pertain when determining

       compensatory wages for employment opportunities in your local economy.” (PD

       at 6–7).

 24.   On September 20, 2005, Plaintiff sent another letter to MetLife expressing

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       confusion as to what constitutes objective evidence of radiculopathy that would

       exclude his disability from the 24-month benefit limit, since his doctors’

       statements indicated that radiculopathy is one of Plaintiff’s medical problems. (PD

       at 8). In that letter, Plaintiff requested a copy of the “Kindred Healthcare, Inc.

       Disability Insurance Plan document” that was applicable to his claim. (PD at 8).

       MetLife received his letter on September 23, 2005. (PD at 8).

 25.   On September 21, 2005, Plaintiff sent a letter to Kindred Healthcare, requesting a

       copy of the Plan within 30 days as required by ERISA. (PD at 9). Plaintiff

       specified in his letter that he was not asking for the SPD but rather a copy of the

       actual plan document. (PD at 9). Kindred received Plaintiff’s letter on September

       23, 2005. (PD at 9).

 26.   By a letter dated October 7, 2005, MetLife sent Plaintiff a copy of the SPD. (AR

       at 96).

 27.   On October 30, 2005, Plaintiff sent a letter to MetLife appealing its determination

       that Plaintiff’s disability did not qualify for the 24-month exception and again

       requesting a cost-of-living increase as provided in the SPD. (PD at 10–13).

       Plaintiff attached relevant doctor’s notes to the letter, which detailed his diagnosis.

       (PD at 13–36). MetLife received Plaintiff’s letter on November 3, 2005. (PD at

       37).

 28.   MetLife sent Plaintiff a letter dated November 8, 2005, acknowledging receipt of

       his appeal. (PD at 38). The letter stated that MetLife was referring Plaintiff’s

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       claim for an independent review and would respond in writing within 45 days with

       its determination, or, if more time was needed, it would take an additional 45 days,

       after first notifying Plaintiff of the special circumstances for the delay. (PD at 38).

 29.   After receiving no correspondence from MetLife within the 45 days that it

       specified in its November 8, 2005, letter, Plaintiff sent MetLife a letter on

       December 28, 2005, 55 days after MetLife received Plaintiff’s October 30, 2005,

       letter, requesting a determination of his appeal. (PD at 39). MetLife received

       Plaintiff’s letter on December 30, 2005. (PD at 39).

       Judicial and Administrative Proceedings

 30.   Plaintiff hired an attorney on February 4, 2006, after not receiving a response from

       either MetLife or Kindred. (Pisek Aff. at ¶ 13).

 31.   Through his attorney, Plaintiff filed his complaint in the present action on March

       6, 2006, alleging that Defendants had violated ERISA by failing to respond to his

       appeal, failing to provide him with information he had requested, and wrongfully

       denying him benefits under the Plan. (Complaint ¶¶ 34, 43, Docket # 1).

 32.   On May 10, 2006, Plaintiff received a letter from defense counsel dated May 8,

       2006, which enclosed a copy of the SPD, the certificate of insurance, and the

       underlying group policy. (PD at 40–80).

 33.   The parties jointly filed a motion to stay the litigation in this court to allow

       MetLife to render an administrative decision on Plaintiff’s claims for continued

       LTD benefits and a cost-of-living increase. (Joint Motion to Stay Proceedings,

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       Docket # 15). On May 9, 2006, the court denied the motion as submitted but

       stayed all proceedings until July 10, 2006, the date of the parties’ next pre-trial

       conference. (Order on Joint Motion to Stay, Docket # 16).

 34.   The parties agreed that Defendants would render a decision no later than July 1,

       2006, on whether Plaintiff was entitled to disability benefits longer than 24 months

       and whether Plaintiff was entitled to a cost-of-living increase. (PD at 40).

 35.   On May 12, 2006, Plaintiff’s counsel sent a letter to defense counsel with

       additional medical documents that evidenced radiculopathy in Plaintiff’s

       condition. (AR at 97).

 36.   Through a letter dated July 5, 2006, MetLife determined that Plaintiff’s additional

       medical information supported the existence of a condition falling within the

       exception to the 24-month benefit limit; thus, Plaintiff would continue to receive

       disability benefits as long as he continued to be disabled under the Plan’s

       definition. (AR at 110).

 37.   However, with respect to the cost-of-living increase, the letter stated:

              It appears that you are relying on the SPD in support of this
              claim. Typically, the SPD is the controlling document, but
              because the SPD and the Certificate of Insurance appear to
              conflict with respect to this Issue, the Certificate of Insurance,
              the Plan document which provides the funding for the Plan,
              governs. See Health Cost Controls, Inc. v. Washington, 187
              F.3d 703, 711 (7th Cir. 1999). Therefore, we must deny your
              client’s claim for additional benefits. (AR at 111).

 38.   Plaintiff appealed this determination through a July 17, 2006, letter written by his


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          attorney to the claims administrator at MetLife. (AR at 112).

 39.      On September 8, 2006, MetLife again denied the cost-of-living increase. (AR at

          115).

 III.     Summary Judgment Standard

          Summary judgment is proper where “the pleadings, depositions, answers to

 interrogatories, and admissions on file, together with the affidavits, if any, show that there

 is no genuine issue as to any material fact and that the moving party is entitled to a

 judgment as a matter of law.” FED. R. CIV. P. 56(c). A genuine issue of material fact

 exists if “there is sufficient evidence favoring the nonmoving party for a jury to return a

 verdict for that party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). Some

 alleged factual dispute that does not rise to a genuine issue of material fact will not alone

 defeat a summary judgment motion. Id. at 247–48.

          In deciding whether a genuine issue of material fact exists, the court views the

 evidence and draws all inferences in favor of the nonmoving party. Miranda v. Wis.

 Power & Light Co., 91 F.3d 1011, 1014 (7th Cir. 1996). However, when a summary

 judgment motion is made and supported by evidence as provided in Rule 56(c), the

 nonmoving party may not rest on mere allegations or denials in its pleadings but “must

 set forth specific facts showing that there is a genuine issue for trial.” FED. R. CIV. P.

 56(e).

          As this case is before the court on cross motions for summary judgment with

 respect to all of Plaintiff’s claims, the court evaluates each movant’s motion under the

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 requirements of Rule 56 stated above. WRIGHT, MILLER & KANE, FEDERAL PRACTICE

 AND PROCEDURE § 2720 at 23-24 (2d ed. 1990) (“The court must rule on each party’s

 motion on an individual basis, determining, in each case, whether a judgment may be

 entered in accordance with the Rule 56 standard.”).

 IV.    Discussion

        As set forth in the introduction, the issues in the parties’ motions for summary

 judgment are threefold: whether Plaintiff is entitled to statutory penalties from Kindred

 and MetLife for failing to provide him information he requested, whether Plaintiff is

 entitled to an annual cost-of-living increase in his monthly benefits, and whether Plaintiff

 is entitled to attorney’s fees. Each issue is discussed in turn below.

        A.     Penalties against MetLife and Kindred

        Section 104(b)(4) of ERISA sets forth: “The administrator shall, upon written

 request of any participant or beneficiary, furnish a copy of the latest updated summary,

 plan description, and the latest annual report, any terminal report, the bargaining

 agreement, trust agreement, contract, or other instruments under which the plan is

 established or operated.” ERISA § 104(b)(4), 29 U.S.C. § 1024(b)(4). Further, Section

 502(c)(1) of ERISA sets forth:

        Any administrator . . . (B) who fails or refuses to comply with a request for
        any information which such administrator is required by this subchapter to
        furnish to a participant or beneficiary (unless such failure or refusal results
        from matters reasonably beyond the control of the administrator) by mailing
        the material requested to the last known address of the requesting
        participant or beneficiary within 30 days after such request may in the
        court’s discretion be personally liable to such participant or beneficiary in

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        the amount of up to $100 a day from the date of such failure or refusal, and
        the court may in its discretion order such other relief as it deems proper.

 ERISA § 502(c)(1), 29 U.S.C. § 1132(c)(1). The maximum penalty was increased to

 $110 per day for violations occurring after July 29, 1997. 29 C.F.R. § 2575.502c-1.

               1.      MetLife

        Defendants argue that Section 502(c) of ERISA only authorizes penalties against a

 plan administrator, not a claims administrator; thus, MetLife cannot be liable for any

 penalties. However, Plaintiff asserts that MetLife is liable for penalties because, even if

 the court determines that MetLife is not the plan administrator, it is an agent of the plan

 administrator.

        ERISA defines the plan administrator as “the person specifically so designated by

 the terms of the instrument under which the plan is operated.” 29 U.S.C. §

 1002(16)(A)(i). The Seventh Circuit has made it clear that only the plan administrator is

 liable for statutory penalties: “The statute is plain: if a plan administrator is designated in

 the plan instrument, that is who has the statutory duty to respond to requests for

 information in timely fashion under threat of monetary penalty if he fails to do so.” Jones

 v. UOP, 16 F.3d 141, 144 (7th Cir. 1994).

        In this case, the SPD, which Plaintiff possessed at all times relevant to this

 litigation, clearly states that the plan administrator is Kindred but that the claims are

 administered by MetLife, and it provides addresses for both. Under these facts, there is

 no basis to find that MetLife is the plan administrator. Further, as set forth in Jones, only


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 the plan administrator is liable for statutory penalties, not the claims administrator. As

 such, MetLife cannot be liable to Plaintiff for statutory penalties under ERISA.

                2.     Kindred

        Plaintiff also asserts that Kindred is subject to monetary penalties for failing to

 respond to his September 21, 2005, request for a copy of the Plan. While Kindred does

 not deny that it failed to provide Plaintiff with a copy of the Plan in a timely manner, it

 asserts that Plaintiff did not suffer any prejudice by its failure; thus penalties are not

 appropriate.

        Courts have looked to a number of factors in deciding whether to assess statutory

 penalties under Section 502(c) for failing to provide information requested under Section

 104 such as: “bad faith or intentional conduct on the part of the administrator, the length

 of the delay, the number of requests made and documents withheld, and the existence of

 any prejudice to the participant or beneficiary.” Jackson v. E.J. Brach Corp., 937 F.

 Supp. 735, 741 (N.D. Ill. 1996) (quoting Pagovich v. Moskowitz, 865 F. Supp. 130, 137

 (S.D.N.Y. 1994)). Whether to assess a penalty and the size thereof is within the

 discretion of the district judge. Ziaee v. Vest, 916 F.2d 1204, 1210 (7th Cir. 1990). The

 judge need not consider whether there is a provable injury in exercising his discretion. Id.

        The facts in this case weigh in favor of assessing a penalty against Kindred.

 Kindred was 196 days delinquent in providing Plaintiff with a copy of the Plan. Plaintiff

 sent a clear request specifying that he was requesting a copy of the Plan, not the SPD,

 which Kindred received on September 23, 2005. Kindred did not provide the requested

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 document until May 10, 2006, after Plaintiff had filed his lawsuit against Defendants for

 violating ERISA. Although Plaintiff does not argue that Kindred’s delay was in bad faith,

 Kindred has not provided any reason for its extensive delay. In addition, Kindred failed

 to provide a copy of the Plan, the main policy document.

        The court finds little merit in Kindred’s arguments that Plaintiff was not prejudiced

 because he has always had a copy of the SPD and he had always received his disability

 benefits. Plaintiff requested a copy of the Plan to determine what kind of evidence would

 suffice as “objective evidence of radiculopathy” since the evidence in his record was

 apparently insufficient for MetLife to find Plaintiff eligible for the 24-month limitation

 exception. Although Plaintiff has received a monthly benefit check since his LTD

 benefits started in July 2004, that does not indicate Plaintiff has suffered no prejudice.

 Plaintiff spent over a year disputing his medical condition with MetLife; MetLife

 repeatedly failed to respond to his requests to reconsider its determination regarding his

 disability; and only after Plaintiff hired a lawyer did MetLife respond to his appeal and

 determine that he was eligible to continue receiving disability benefits. As a policy

 consideration, the court refuses to find that an insured must wait until his disability

 benefits stop to appeal the determination in order to make the administrator subject to

 penalties. Further, the court notes that existence of a proveable injury is not required to

 assess a penalty against a plan administrator.

        Taking into account the above facts, the court finds that a penalty of $50 per day is

 appropriate. Calculation of the penalty shall start on the first day that Kindred was in

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 default, October 24, 2005 (30 days after Kindred received Plaintiff’s request), until May

 8, 2006, when Kindred’s attorney mailed a copy of the Plan to Plaintiff, a total of 196

 days. Thus, the court finds that KINDRED SHALL PAY a penalty of $9800. As such,

 Plaintiff’s motion for summary judgment is GRANTED and Defendants’ motion

 DENIED with respect to Kindred and Plaintiff’s motion DENIED and Defendants’

 motion GRANTED with respect to MetLife on the issue of penalties.

        B.     Cost-of-Living Increase

        The second issue on summary judgment is whether Plaintiff is entitled to a cost-of-

 living increase in his monthly benefits. Defendants determined, when it ultimately

 reviewed Plaintiff’s denial of benefits, that the Plan did not provide for a cost-of-living

 increase. Plaintiff disputes this result and further argues that the court should review this

 decision de novo because Plaintiff’s appeal was “deemed denied” by Defendants’ failure

 to respond to his appeal within 45 days. Defendants argue that the court may only reverse

 Defendants’ decision if it finds the ruling arbitrary and capricious because the Plan

 provides that Defendants have discretionary authority to interpret the plan.

               1.     Standard of Review

        A court reviews benefit determinations de novo, unless the plan gives the trustees

 discretionary authority to determine eligibility. Trombetta v. Cragin Fed. Bank for Sav.

 Employee Stock Ownership Plan, 102 F.3d 1435, 1437 (7th Cir. 1996). If the trustees

 have discretion, then the court reviews benefit determinations under the arbitrary and

 capricious standard. Id. However, when a claim has been “deemed denied” by a plan

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 administrator’s or plan fiduciary’s failure to respond to an appeal, the circuits are split on

 whether to review the denial under the de novo or abuse of discretion standard. Nichols v.

 Prudential Ins. Co. of Am., 406 F.3d 98, 109 (2d Cir. 2005).

        Before deciding which standard of review to use, the court must address whether

 Plaintiff’s claim was “deemed denied.” Defendants argue that a deemed denial only

 occurs in the absence of an administrative decision, and here, MetLife rendered a decision

 on July 5, 2006. Thus, the court cannot consider Plaintiff’s claim “deemed denied.”

 However, a claim is “deemed denied” based on the failure of the administrator to meet

 certain deadlines set forth in the regulations or in the plan itself. See 29 C.F.R. §

 2560.503-1(h)(4); Nichols, 406 F.3d at 105 (failure to meet regulatory deadlines); Jebian

 v. Hewlett-Packard Co. Employee Benefits Org. Income Prot. Plan, 349 F.3d 1098, 1103

 (9th Cir. 2003) (failure to meet plan deadlines).

        In this case, the Plan provides that the claims administrator (MetLife) will respond

 to an appeal within 45 days, or if additional time is needed, 90 days. However, where

 additional time is needed MetLife will notify the claimant within the initial 45-day period

 of the need for the extension. MetLife received Plaintiff’s October 30, 2005, appeal on

 November 3, 2005. Under the terms of the Plan, it should have made its determination by

 December 18, 2005, or if more time was needed and upon notification to Plaintiff, by

 March 4, 2005. However, it did not render its decision until July 5, 2006. Thus,

 Plaintiff’s claim was “deemed denied” by December 18, 2005, because MetLife did not

 respond within the time set forth in the Plan. The fact that Plaintiff allowed MetLife

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 another chance to review his claims once the lawsuit was filed does not change the fact

 that MefLife failed to respond to Plaintiff’s appeal within the Plan’s time limits.

        Because the court finds that Plaintiff’s claim was “deemed denied,” the court now

 turns to the question of what standard it must use to review MetLife’s determination that

 Plaintiff was not entitled to a cost-of-living increase. The Seventh Circuit has not ruled

 on this issue. See Hawkins v. Prudential Life Ins. Co. of Am., No. 1:04-cv-157-JDT-

 WTL, 2005 WL 4889191, at *10 (S.D. Ind. Aug. 2, 2005) (citing Second Circuit law in

 finding that a deemed denial is reviewed de novo). The Second, Third, and Tenth Circuits

 have found that when a claim is “deemed denied,” “de novo review applies on the

 grounds that inaction is not a valid exercise of discretion and leaves the court without any

 decision or application of expertise to which to defer.” Nichols, 406 F.3d at 109 (citing

 Gritzer v. CBS, Inc., 275 F.3d 291, 295 (3d Cir. 2002) and Gilbertson v. Allied Signal,

 Inc., 328 F.3d 625, 632–33 (10th Cir. 2003)).2

        The Fifth Circuit holds that a “deemed denied” claim is always entitled to

 deferential review, Southern Farm Bureau Life Ins. Co. v. Moore, 993 F.2d 98, 101 (5th

 Cir. 1993), while the Eighth Circuit reviews such claims de novo rather than for abuse of

 discretion if the review panel’s inaction raises “serious doubts about the administrator’s

 decision.” Seman v. FMC Corp. Ret. Plan for Hourly Employees, 334 F.3d 728, 733 (8th


        2
           The Nichols court also cited the Ninth Circuit decision in Jebian v. Hewlett Packard
 Co., 349 F.3d 1098 (9th Cir. 2003) as composing part of the majority. Nichols v. Prudential Ins.
 Co. of Am., 406 F.3d 98, 109 (2d Cir. 2005). However, as discussed later in this Entry, the Ninth
 Circuit later narrowed their holding to find that “deemed denied”claims are not always entitled
 to de novo review. Gatti v. Reliance Stand. Life Ins. Co., 415 F.3d 978, 982–83 (9th Cir. 2005).

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 Cir. 2003).

        The parties rely on Ninth Circuit precedent for their respective positions about

 which standard of review the court should exercise. The Ninth Circuit first held in Jebian

 v. Hewlett Packard Co. that a “deemed denied” claim is reviewed de novo, regardless of

 whether the Plan gives the administrator discretion to determine benefit eligibility. 349

 F.3d at 1106–07. However, in Gatti v. Reliance Standard Life Insurance Co., the Ninth

 Circuit held, without overruling Jebian, that where an administrator has violated the time

 limits established in the regulations, making a claim “deemed denied,” the standard of

 review remains the same as if the administrator had actually denied the claim. 415 F.3d

 978, 982 (9th Cir. 2005). In explaining the seemingly contradictory holdings, the Gatti

 Court found that the holding in Jebian was contingent upon the fact that in that case the

 administrator had violated the time limits set forth in the plan, rather than those in the

 regulations, even though the time limits were the same. Id.

        The court agrees with the majority view set forth in the Second, Third, and Tenth

 Circuits to find that de novo review is appropriate in this case. Although the Seventh

 Circuit has not ruled on the issue, this court, in its decision in Hawkins v. Prudential

 Insurance Co. of America, 2005 WL 4889191, at *10, relied in part on the Second

 Circuit’s ruling in Nichols. Further, the court notes that the Ninth Circuit precedent set

 forth in Jebian and Gatti requires de novo review in this case because Plaintiff relies on

 the 45-day time limit for determining appeals set forth in the Plan, not the regulations.

 Employing de novo review, the court now turns to the question of whether Plaintiff is

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 entitled to a cost-of-living increase in his monthly benefit payments.

                2.      Review of the Defendants’ Denial of a Cost-of-living Increase

        Plaintiff disputes Defendants’ denial of his cost-of-living increase because the

 plain language of the SPD states that the earnings figure used to calculate participants’

 benefits is increased for inflation after a participant receives benefits for a year. Further,

 Plaintiff alleges that because the SPD and the Plan conflict, the terms of the SPD should

 apply. Defendants argue that no conflict exists and that the clear language of both the

 SPD and the Plan do not allow for a cost-of-living increase.3 In setting forth the monthly

 benefit calculation, the language of both uses the term “pre-disability earnings,” which

 does not take into account a cost-of-living increase, rather than “indexed pre-disability

 earnings,” which does account for such an increase.

        In the Seventh Circuit, a two-part framework is used to analyze alleged conflicts

 between the SPD and the Plan.4 Hopkins v. Prudential Ins. Co. of Am., 432 F. Supp. 2d

 745, 758 (N.D. Ill. 2006). First, the court must determine whether the SPD satisfies


        3
           The court notes that in its July 5, 2006, denial of Plaintiff’s appeal, MetLife states, with
 respect to its denial of the cost-of-living increase: “Typically, the SPD is the controlling
 document, but because the SPD and the Certificate of Insurance appear to conflict with respect
 to this Issue, the Certificate of Insurance, the Plan document which provides the funding for the
 Plan, governs.” (Fact # 37) (emphasis added). Although the court recognizes that this is not a
 legal opinion, it casts serious doubt on Defendants’ present assertion that the SPD and the Plan
 do not conflict.
        4
           Plaintiff argues that the Plan should be construed in accordance with Sixth Circuit law
 since the Plan specifies that it is a Kentucky contract. However, parties may not contract to
 choose state law to govern an ERISA plan. Prudential Ins. Co. of Am. v. Doe, 140 F.3d 785, 791
 (8th Cir. 1998). Federal common law governs federal questions, id., and the federal law that
 governs this court is that of the Seventh Circuit.

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 ERISA’s disclosure requirements under 29 U.S.C. § 1022(a), (b). Mers v. Marriott Int’l

 Group Accidental Death & Dismemberment Plan, 144 F.3d 1014, 1022 (7th Cir. 1998).

 ERISA mandates that the SPD “shall be written in a manner calculated to be understood

 by the average plan participant . . . .” 29 U.S.C. § 1022(a). The Regulations detail that

 “[t]he format of the [SPD] must not have the effect to misleading, misinforming or failing

 to inform participants and beneficiaries.” 29 C.F.R. § 2520.102-2(b). If the SPD does

 not comply with ERISA’s disclosure requirements, then the administrator is estopped

 from denying coverage for terms not included in the SPD but included in the underlying

 plan. Mers, 144 F.3d at 1022.

        In this case, the SPD does not meet ERISA’s disclosure requirements. Under the

 subsection entitled “When do LTD benefits start?”, the SPD states: “The pre-disability

 earnings used in calculating your benefit payments will be increased by the annual

 consumer price index or 7% (whichever is less), starting on the 13th monthly LTD

 payment and on the anniversary of that payment for each year forward if you continue to

 be disabled.” (Fact # 11). That text is paraphrased and in bold font in the left-hand

 margin of the SPD, acting to highlight that specific portion of the SPD. Reading the plain

 language of this text, an average plan participant would understand it to mean that he was

 entitled to a cost-of-living increase in his benefit payments. Further, the highlighting of

 this text acts to increase the chance that a participant reading the SPD will read it and

 think it important information. Since Defendants now assert that the Plan does not

 provide participants receiving LTD benefits with a cost-of-living increase, the SPD is

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 misleading. As such, Defendants are estopped from relying on the Plan to deny Plaintiff

 a cost-of-living increase.

        Defendants argue that the inflation-increase language is merely part of the

 definition of “indexed pre-disability earnings,” used only to define “disability” and the

 work incentive program, not to describe the calculation of monthly benefits. However,

 the court finds that this language does not have such a restricted application. The plain

 meaning of the text is that the pre-disability earnings figure used to calculate benefit

 payments, and thus the benefit payments themselves, will be increased for inflation after a

 year. Further, reading this text only in conjunction with the meaning of disability or the

 work incentive program would be illogical. The language at issue presupposes that a

 participant is disabled—it refers to benefit payments, which a participant only receives if

 he is disabled, and states that the pre-disability earnings figure is increased annually “if

 you continue to be disabled.” Reading the language under “indexed pre-disability

 earnings” in a restrictive way results in circular reasoning and goes against the plain

 meaning of the text. The court may not interpret the terms of the SPD in such a way. See

 Phillips v. Lincoln Nat’l Life Ins. Co., 978 F.2d 302, 308 (7th Cir. 1992) (noting that the

 court must read the terms of an ERISA-governed policy in an ordinary and popular sense

 and not artificially create ambiguity).

        However, even if the SPD complied with ERISA’s disclosure requirements, the

 court finds that Defendants are still estopped from relying on the Plan to deny Plaintiff

 benefits. If the SPD does comply with the disclosure requirements, then the court must

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 determine if the terms of the SPD and the Plan directly conflict. Mers, 144 F.3d at

 1022–23. If there is a direct conflict, the administrator is again estopped from relying on

 terms not in the SPD to deny benefits. Id. A direct conflict does not exist simply because

 the SPD is a clumsy paraphrase of the plan or because the plan explains an issue on which

 the SPD is silent. Hopkins, 432 F. Supp. 2d at 762.

        Assuming that the Plan here does not allow for a cost-of-living increase, as

 Defendants assert, this is a case where the SPD and Plan directly conflict.5 The SPD

 clearly states that a participant who has been receiving LTD benefits for a year is entitled

 to a cost-of-living increase. The Plan does not provide for such an increase. There is no

 way to reconcile the SPD and the Plan, as they provide opposite answers to the same

 question. Thus, a direct conflict exists, and Defendants are estopped from relying on the

 Plan to deny Plaintiff a cost-of-living increase in his monthly benefits.

        Based on the above, Plaintiff was entitled to receive a cost-of-living increase in his

 monthly benefits, as described in the SPD, starting with his July 2005 benefit payment.

 Plaintiff’s motion for summary judgment is GRANTED and Defendants’ motion

 DENIED on the issue of whether Plaintiff is entitled to a cost-of-living increase in his


        5
           The court finds it unnecessary to determine whether the language of the Plan denies
 participants a cost-of-living increase, as Defendants assert. Plaintiff relies on the language of the
 SPD, while Defendants rely on the language of the Plan. If the court were to determine that the
 language of the Plan did provide a cost-of-living increase, then Plaintiff would prevail.
 However, if the court were to determine that the Plan did not provide a cost-of-living increase,
 the court would still have to conduct a conflict analysis to determine which document governs,
 since it has already determined that the SPD clearly contemplates a cost-of-living increase. For
 the sake of argument, the court will assume that the language of the Plan denies such an increase
 in order to proceed directly with the conflict analysis.

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 benefit payments.

        C.     Attorney’s Fees

        ERISA allows the court, in its discretion, to award reasonable attorney’s fees to

 either party. 29 U.S.C. § 1132(g)(1). There is a modest, but rebuttable, presumption that

 prevailing parties are entitled to reasonable attorneys’ fees. Bowerman v. Wal-Mart

 Stores, Inc., 226 F.3d 574, 592 (7th Cir. 2000). The Seventh Circuit has articulated two

 formulas in ERISA actions to determine if a prevailing party is entitled to attorney’s fees.

 Id. The first is a five-factor test, considering: (1) the degree of culpability or bad faith of

 the offending party; (2) the ability of the offending party to satisfy an award of attorney’s

 fees; (3) whether an award of attorney’s fees against the offending party would deter

 other persons acting under similar circumstances; (4) the amount of benefit conferred on

 members of the plan as a whole; (5) and the merits of the parties’ positions. Id. at

 592–93. The second test asks whether the losing party’s position was substantially

 justified. Id. at 593. However, the essential question under either test is the same: “Was

 the losing party’s position substantially justified and taken in good faith, or was that party

 simply out to harass its opponent?” Id. (quoting Quinn v. Blue Cross & Blue Shield

 Ass’n, 161 F.3d 472, 478 (7th Cir. 1998)).

        The court finds that granting Plaintiff attorney’s fees is not warranted in this case

 under either test. Under the first test, the court finds that Defendants would be able to

 satisfy an award of attorney’s fees in this case; awarding attorney’s fees would deter other

 plan administrators and claim administrators from failing to respond to participants’

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 requests for information and review of their claims; and inducing Defendants to timely

 respond to plan participants would benefit all participants. However, Kindred’s failure to

 respond to Plaintiff’s request for a copy of the Plan and MetLife’s failure to respond

 timely to Plaintiff’s appeal alone is insufficient for the court to find that Defendants acted

 in bad faith. Further, the court finds that Defendants’ position with respect to the cost-of-

 living increase is not wholly devoid of merit such that the court could find that

 Defendants were only out to harass Plaintiff. MetLife’s denial of the cost-of-living

 increase was based upon the language of the Plan, which, as discussed in the analysis

 above, is in conflict with that of the SPD. It is not unjustifiable that MetLife would have

 relied on the Plan, rather than the SPD, when determining Plaintiff’s benefits because the

 SPD is merely a summary of the Plan itself. As such, the court finds that awarding

 Plaintiff attorney’s fees in this case is not appropriate.

        Plaintiff also seeks attorney’s fees on the issue of whether he qualified for the 24-

 month limitation exception. He argues that because his lawsuit was the catalyst for

 Defendants awarding him those benefits, he is the prevailing party. However, as

 discussed above, the question is not, “Who was the prevailing party?”, the question is

 “Was the offending party’s position substantially justified?” As the 24-month benefit

 exception issue was resolved at the beginning of the litigation, there is insufficient

 evidence in the record for the court to properly determine the justifiability of Defendants’

 position. Simply because Defendants reversed their initial decision to deny Plaintiff

 extended benefits does not mean that their initial position was taken in bad faith. As

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 such, the court will not award attorney’s fees on that issue.



 V.     Conclusion

        For the foregoing reasons, Plaintiff’s motion for summary judgment (Docket # 25)

 and Defendants’ motion for summary judgment (Docket # 28) are both GRANTED in

 part and DENIED in part. Plaintiff is entitled to penalties from Kindred in the amount of

 $9800 but is not entitled to penalties from MetLife. Plaintiff is also entitled to a cost-of-

 living increase in his monthly benefits retroactive from July 2005. An award of

 attorney’s fees is not warranted in this case.



 SO ORDERED this 17th day of July 2007.


                                                       _______________________________
                                                       RICHARD L. YOUNG, JUDGE
                                                        RICHARD L. YOUNG, JUDGE
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                                                        United States District Court
                                                       Southern  District of Indiana
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